               Case 12-42907           Doc 32       Filed 07/08/16 Entered 07/08/16 13:04:45                     Desc Main         BL9112305
                                                      Document     Page 1 of 1
                                            IN THE UNITED STATES BANKRUPTCY COURT
                                         DISTRICT OF MINNESOTA, MINNEAPOLIS DIVISION


        IN RE: CHRISTOPHER ERIC JOHNSON                          :      Chapter:     13
                RACHAL JEAN JOHNSON                              :
                                                                 :
                                                                 :
                                                                 :      CASE NO:          12-42907
                                                                 :

                                                  NOTICE OF ADDRESS CHANGE
   eCast Settlement Corporation hereby changes its address for its claim number 10, filed in this case. This claim will no longer be serviced
by Bass and Associates.

       Previous Address:
                                        3936 E FT. LOWELL, SUITE 200
                                        TUCSON, AZ 85712

       New Address for Notices and Payments:
                                        eCast Settlement Corporation
                                        PO Box 28136
                                        New York, NY 10087-8136
                                        610-228-2570
                                        proofofclaim@becket-lee.com




                                                                        Respectfully Submitted,



                                                                        By: /s/ Gregory P Deegan

                                                                             Gregory P Deegan, Claims Administrator
                                                                             Becket & Lee LLP
                                                                             PO Box 3001
                                                                             Malvern, PA 19355-0701



                                                                             DATE:        7/8/2016
